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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS



  UNITED STATES OF AMERICA


             v.
                                                   Crim. No. 19-cr-10081-IT-MPK
  GORDON ERNST, et al.,

                              Defendants.



                              JOINT INITIAL STATUS REPORT

       Pursuant to Local Rule 116.5(A), the parties hereby file the following status report prepared

in connection with the Initial Status Conference that is currently scheduled for June 3, 2019.

       (1)        Automatic Discovery

       The Government provided automatic discovery in this case to the defendants on or about

April 25, 2019. The discovery was provided on a hard drive as well as an accompanying DVD.

The Government provided Defendants with general indexes where required and multiple databases

in load-ready forms. Defendants are currently reviewing this discovery.

       (2)        Additional Discovery

       The Government anticipates providing significant additional discovery as it comes in and

is processed by the Government. This includes a third production on a thumb drive that will

primarily – but not exclusively – consist of records that will be provided to all Defendants via mail

on or about May 30, 2019. After this, the Government anticipates producing discovery on a rolling

basis approximately once each month.
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         Defendants request a date by which the government presently anticipates completing its

discovery productions. The Government responds that in a complex case such as this, where the

investigation is ongoing, additional discovery will be produced and disclosed as is required.

         (3)      Protective Orders

         There is a protective order currently in place. Should a party seek modification of any

existing protective order, a motion will be filed with the Court to address any issue.

         (4)      Pretrial Motions

         The parties agree that the no pre-trial motions made pursuant FED. R. CRIM. P. 12(b) will

be filed before September 30, 2019. The parties further agree that any request that the Court set a

briefing schedule for pre-trial motions will be made on or after September 30, 2019.

         (5)      Expert Discovery

         The parties are unable to reach agreement on expert disclosure. The Government proposes

disclosure 45 days prior to trial. The defense posits that this time period is insufficient to provide

the defense with proper notice and enough time in which to identify rebuttal experts in advance of

trial.

         (6)      Speedy Trial Act

         The parties have conferred and ask that the Court exclude the period of time from the time

of the initial status conference on June 3, 2019 to the time of the next status conference, under 18

U.S.C. § 3161(h)(7)(A), to permit the Defendants time to review discovery and confer with their

respective counsel. The ends of justice served by this exclusion outweigh the interests of the public

and the defendant in a speedy trial.




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       (7)      Interim Status Conference

       The parties request an interim status conference on or about September 30, 2019, or at such

time as is convenient to the Court.



                                            Respectfully Submitted,


                                            ANDREW E. LELLING
                                            UNITED STATES ATTORNEY

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                                 CERTIFICATE OF SERVICE

        I, __________, hereby certify that this document filed through the ECF system will be
sent electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) and paper copies will be sent to those indicated as non-registered participants on May 29,
2019.

                                                             /s/
